Case 1:21-cr-20151-RKA Document 71 Entered on FLSD Docket 03/01/2022 Page 1 of 4




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                                               SOU TH ERN DISTRICT O F FLO RID A

                                                   CaseNo.21-20151-CR-ALTM AN(s)
   UNITED STA TE S O F AM ER ICA

   VS.

   D ANNY NUN EZ M AR M O L,

                  Defendant.
                                                                    /

                                         STIPULATED FA CTU AT,BASIS FOR PLEA

                  PursuanttoRule11(1943),thefollowingsetsforththefactualbasisfordefendantDANI
                                                                                            NY
   N UNEZ M ARM O L 'Sguilty plea to CountOneofthe Superseding Indictm ent,which chargesthe

   defendantw ith conspiracy to distribute cocaine,know ing,intending,and having reasonable cause

   to believe thatitwould be imported into the U nited States,in violation ofTitle 21,U nited States
                                                   i. .
   Code,Sedion 963. TheUnited StatesofAm ericaandthedefendantagreethathadthiscasegone
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   to trial, the United States w ould have proven the following facts, am ong others, beyond a

   reasonabledoubt:
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   1.             From 2014 through 2020, the defendant w as part of a dnzg traffcking organization
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   (6GDTO'')thatengagld inthejhipmentofcocainefrom theDominican Republicto theUnited
   States,including South Flprida,using shipping containersand recreationalvessels.

   2.             TheD.
                      TO
                       . 'F:prefçrm d method ofconcealmentwasto presscocainebetwqen the layersof
   çArdboard in cardbgard b,oxflaps. Thiswasdoneby co-defendantM iguelEmilioOutierrezDiaz
        .




   on a farm in the Dom inican Republic atthe direction ofco-defendantM iguelAndres.Gutierrez

   D iaz. TIX boxes w ere then,,used in shipm ents of produce transported to the United States'in
            . .       .




   shippjrfg.containçrs. Upoaèarrivalofthe containers,the boxes of produce wem remqvçdjthe
Case 1:21-cr-20151-RKA Document 71 Entered on FLSD Docket 03/01/2022 Page 2 of 4




   produce w as discarded,ând the cocaine w asrem oved from the box tlaps. The cocaine wasthen

   distributed in South Floridaand theN ew York area by the defendantand hisbrother,co-defendant

   Endy De JesusN unez M arm ol.

                 The defendant w as responsible for sourcing cocaine for shipm ents, investing his ow n

   cocaine into the loads,and distributing cocaine being imported into the United States. The

   defendantand Endy N unez M arm ol,directed and coordinated the dispatch ofthecocainefrom the

   D om inican R epublic after they received the cocaine-laden boxes from co-defendants M iguel

   A ndres Gutien'
                 ez Diaz and M iguelEm ilio Gutierrez Diaz. The DTO im ported the cocaine to

       South Florida,wherethedefendantand EndyNunezM armolreceived thecocaine,transported it,

   and distributed itin the N ew Y ork area. The defendantreceived a portion ofthe dnlg proceeds

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                                  .     TO'sdistribution networktotransportcocainethatthey owned.

   4,            Priprtlo.
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                            1-7,:M i
                                   .gueliAndres Gutierrez Diaz introduced the defendant,tp gnptherDTO
   mçmbqrM d çpmconspirator,Who wasa cocainetraffckerin M iami. The co-conspiratoragreed
   '

   tp.sellimptmçdcoçainein MiamitothedefendantandEndyNunezM armol,whoihenanv ged
                              i       .



   forthe cpcaine to'be trahsported to N ew York and sold. M iguelAndres Gutierrez Diazw aspaid   .




   com m issiongforbrokeringthenarcoticstransactionsbetweentheco-conspiratorand.
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   apd.;.
        EndyNunezM qrm olk'
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       5. 'The çp-cpnspiratpr.sqldlthe defendant and Endy Nunez M armol approximately ,229
   kilogram sqfcgçyilm F hiçhr
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   çkfçndanfgndl% 4yNulw;M armplj'
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Case 1:21-cr-20151-RKA Document 71 Entered on FLSD Docket 03/01/2022 Page 3 of 4




   6.          The co-conspirator im ported 380 kilogram s of cocaine aboard a boat called ûûl-
                                                                                              lappy

   Ending.'' Theco-conspiratorreceived approxim ately 90 kilogram sofcocaine9om thisshipm ent,

   w hich hesold to thedefendantand EndyN unez M arm ol,w ho then transported the cocaineto N ew

   Y ork and sold it.

   7.          In 2016 or 2017,the co-conspirator and the defendantm ade plans in the Dominican

   Republicto send a load of120 kilogram sofcocaine to South Florida aboard the Ktl-
                                                                                   lappy Endinp''

   Severalinvestors added cocaine to this shipm ent,w hich grew to approxim ately 430 kilogrnm s.

   In April2016,the cocaine load was imported into South Florida and tm loaded ata m arina in Ft.

   Lauderdale. The co-conspiratorreceived approxim ately 230 kilogram s,w hich theco-conspirator

   delivered to the defendantand Endy N unez M arm olin M iam i,w ho then transported the cocaine

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   ofcpcqinefrtjm thqD pm inican Republic aboard an unknow n vessel. The co-conspiratorreceived
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   qpproxim qjely 150 kilogram s,w hich he sold to the defendantand Endy N unez M arm ol,who then

   Smnsportedfthecocailje$4 N çw Y ork and sold it.
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                  6 pr).2017;'thç 'cb-conspirator imported from the Dom inican Republic another
          LtIn 201.                         .




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                                   .dms Gutierrez Diaz acquired a company to receive containers of
   pm duçe'Jzsçd ,
                 lo çopcùa,
                          lshipm ents ofcocaine from the Dom inican Republic. After conducting
                                        .




   three te@f shipm çnls'w i
                          ..thopt any cqcaine,in Septem ber 2017,M iguel Andres,.Gutiçrreg.Diag

   d
   kireçtedcozdefçndintM,.
                         iguelEm ilio GutierrezDiaztopackagethecocaineandsendtheshipment


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Case 1:21-cr-20151-RKA Document 71 Entered on FLSD Docket 03/01/2022 Page 4 of 4




   to D uran Produce in South Florida. M iguelEm ilio Gutierrez D iaz concealed the cocaine w ithin

   the cardboard box tlaps of boxes of produce in the D om inican Republic, and the load was

       dispatched to the United States. The defendant and Endy N unez M arm ol were the intended

       recipients of the shipm ent;however,it w as seized on Septem ber 19,2017 at PortEverglades,

   where law enforcementfound 167kilogramsofcocaineconcealed intheflapsofcardboardboxes

       filled w ith produce inside ofa shipping container.

       11.       '
                 Fhe defendant,aspartoftheD TO ,participated in severaladditionalloads ofcocaine that

   w ereconcealed in cardboard boxesand dispatched from the Dom inican Republic,w hich w erethen

   imported into the United States,totaling more than 450 kilograms. The defendantand Endy

   Nunez M arm oltransported the cocaine from these loads to N ew Y ork and sold it. Judicially

       Agthorized.ginlemepts'
          ..                .from the Dominican Republic contirm the defendant and Endy Nunez
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   M arm ol'spgryiçipAtitlnlin thel
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                                                                        UNIT STATESATTORN/Y
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